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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                                                   PLAINTIFF

      VS.                       No. 4:13CR00149-02 - JLH

CARLOS DEABLIS FUTRELL                                                   DEFENDANT

                          ORDER TO SERVE SUBPOENAS

      Carlos Futrell has been found indigent by the Court, and counsel has been

appointed to represent him pursuant to the Criminal Justice Act.

      A hearing on Carlos Futrell's Motion to Suppress is set on September 9, 2014, at

1:30 p.m.

      The United States Marshal Service is hereby directed and ordered to serve

subpoenas on the following witnesses for the September 9, 2014 hearing in this matter:

             1. SA Jon Vanatta

             2. SA Joshua S. Laster

             3. Trooper Vic Coleman

             4. Lonoke County Sheriff John Staley

             5. Trooper Trent Benke

      IT IS SO ORDERED this 3rd day of September, 2014.




                                               UNITED STATES DISTRICT JUDGE
